          Case: 2:22-cv-03116-MHW-KAJ Doc #: 6
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AO 399 (01/09) Waiver oft.he Service ofSUIJlmons



                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                         Southern District of Ohio              E]
_ _ _ _ _ _C
           _ MH CAPITAL LLC                                               )
                 Plaintiff                                                )
                                 v.                                       )      CivilActionNo. 2:22CV3116
                    JDK VENTURES LLC                                      )
                         D~fendant                                        )

                                             WAIVER 0~' THE SERVICE OF SUMMONS

To: Andrew Mills Holford
        (Name ofthe plaintiffs atwrney or unrepresentedplaintijj)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the fotm to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from               08/17/2022             , the date when this request was sent (or 90 days ifit was sent outside the
United States). Ifl fail to do so, a default judgment will be entered against me or the entity I represent.


Date:          08/18/2022


                   JDK VENTURES LLC                                                                Terrence G. Stolly
        Printed name ofparty waiving service ofsummons                                                 Printed name
                                                                                           Thompson, Dunlap & Heydinger, LTD.
                                                                                                    1111 Rush Ave.
                                                                                                Bellefontaine, OH 43311
                                                                                                                Address

                                                                                                       tstolly@tdhlaw.com
                                                                                                           E-mail address

                                                                                                          (937) 593-6065
                                                                                                           Telephone nwnher

                                           Duty to A"oid Unnecessary Expenses of Serving a Summons

         Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnect:.Ssary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required lo pay the expenses of service, unless the defendant shows good cause for the failure.

          "Good cause" docs not include a belieflhat the lawsuit is groundless, or that it has been hmugh1 in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           Ifyou waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
